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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 __________________________________________x
                                           :
 In re                                     :                  Chapter 7
                                           :
 BOAZ BAGBAG,                              :                  Case No. 08-12667 (MEW)
                                           :
                         Debtor.           :
 __________________________________________x
                                           :
 BOAZ BAGBAG,                              :
                         Plaintiff,        :
       v.                                  :                  Adv. Pro. No. 19-1022 (MEW)
                                           :
 SUMMA CAPITAL CORP.                       :
                                           :
                         Defendant,        :
 __________________________________________:

                                REVISED SCHEDULING ORDER

          On April 16, 2019, a Scheduling Order was entered in this adversary proceeding

 at dkt #11. On May 7, 2019, the Debtor requested a four-week adjournment of deadlines

 set forth in that Scheduling Order. The basis of the request is that the Debtor’s counsel

 needs to review a substantial production of document received from the Debtor’s

 previous counsel, which production continues. Debtor’s counsel represents that counsel

 to Summa Capital Corp. does not object to the request. Based upon the foregoing, it is

 hereby

          ORDERED, that the schedule is revised as follows:

    1. An evidentiary hearing on the Petitioner’s Petition and the motion to be filed will

          be held on June 19, 2019 at 2:00 p.m.

    2. The parties shall disclose any witnesses on whom they seek to rely at the

          evidentiary hearing by June 4, 2019.
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    3. Depositions of fact witnesses shall be held by June 12, 2019.

    4. The parties shall exchange pre-marked exhibits not later than June 4, 2019.

    5. The parties shall submit a joint pre-trial order not later than Jun 14, 2019



 Dated: New York, New York
        May 8, 2019

                                              s/Michael E. Wiles
                                              UNITED STATES BANKRUPTCY JUDGE




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